
ORDER
Considering the request of petitioner, Philip Thomas Hackney, to submit an application to sit for the February 2002 Louisiana bar examination,
IT IS HEREBY ORDERED that within ten days of the date of this order, petition*969er shall be permitted to submit an application to sit for the February 2002 Louisiana bar examination, subject to the condition that should petitioner satisfactorily pass the examination, he may not be admitted to the practice of law in Louisiana until a final, satisfactory report of investigation has been received from the National Conference of Bar Examiners.
/s/ Robert L. Lobrano
Justice, Supreme Court of Louisiana
KIMBALL and TRAYLOR, JJ., would deny.
